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                   30-2020-01141024-CU-FR-CXC - ROA # 2 - DAVID H. YAMASAKI, Clerk of the Court By Sarah Loose, Deputy Clerk.



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                                 10
                                                      SUPERIOR COURT FOR THE STATE OF CALIFORNIA
                                 11

                                 12                                       COUNTY OF ORANGE
3055 Wilshire Blvd, 12th Floor




                                      JOSEPH MIER, individually and on behalf
Los Angeles, CA 90010-1137
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                                 13                                              CASE NO.:
                                      of all others similarly situated,         Assigned for all purposes to:
                                 14                                                        Dept: CX105
                                                            Plaintiff,
                                                                                 CLASS ACTION
                                 15
                                             vs.
                                 16                                              COMPLAINT
                                      CVS HEALTH, Rhode Island corporation;
                                 17   and DOES 1 to 100, inclusive,              DEMAND FOR JURY TRIAL

                                 18                         Defendants.
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                                  1           Plaintiff Jospeh Mier (“Plaintiff”), individually and on behalf of all others similarly

                                  2   situated, bring this action based upon personal knowledge as to themselves and their own acts,

                                  3   and as to all other matters upon information and belief, based upon, inter alia, the investigation

                                  4   of their attorneys.

                                  5                                        NATURE OF THE ACTION

                                  6           1.         Defendant CVS Health (“CVS”) is a Rhode Island corporation headquartered in

                                  7   Woonsocket, Rhode Island, that, among other things, produces health products.

                                  8           2.         Defendant sells at its stores and elsewhere certain items from its own brand, such

                                  9   as alcohol-based hand-sanitizer. Defendant includes, printed on the bottles which contain its

                                 10   hand-sanitizer, a statement that the product kills 99.99% of germs. CVS’s Original Scent

                                 11   Moisturizing Hand Sanitizer and all similar CVS brand hand sanitizers state on their bottles,

                                 12   “Kills 99.99% of Germs.”
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                                 13           3.          These statements, in that they are made with a degree of certainty to the

                                 14   hundredth digit, necessarily imply that a scientific study proves that the product in fact kills

                                 15   99.99% of germs. Accordingly, they are each false statements, as no scientific study supports

                                 16   them.

                                 17           4.         In fact, it is scientifically proven that alcohol-based hand-sanitizer does not kill

                                 18   many types of germs.          It does not kill many non-enveloped viruses, such as norovirus.

                                 19   "Norovirus is the leading cause of foodborne illness in the United States. It causes 58% of

                                 20   foodborne illnesses acquired in the United States." https://www.cdc.gov/norovirus/trends-

                                 21   outbreaks/burden-US.html. It is hard to believe that Defendant’s hand-sanitizer kills 99.99% of

                                 22   all germs, while excluding the family of viruses that causes more than half of all food borne

                                 23   illnesses in the country. It also does not kill bacterial spores, protozoan cysts, some parasites

                                 24   like Giardia, and the diarrhea-causing bacterium Clostridium difficile. Moreover, studies have

                                 25   shown that some bacteria are becoming alcohol-resistant. For these reasons, no scientific study

                                 26   proves with any degree of certainty the overall percentage of germs which alcohol-based hand-

                                 27   sanitizer kills.

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                                  1          5.      Defendant was aware that no scientific study supported its 99.99% claims, yet it

                                  2   proceeded to make those claims on the product labels, creating the clear impression that it had

                                  3   been scientifically proven. The product labels are therefore materially misleading, in that they

                                  4   plainly state, in a manner giving the impression that it has been scientifically proven, that the

                                  5   product kills 99.99% of germs, when studies show that it does not kill many types of germs.

                                  6   Hundreds of thousands of consumers have purchased these products, particularly during the

                                  7   ongoing COVID-19 pandemic, in the false belief that they have been proven to kill 99.99% of

                                  8   germs. It has not been so proven. They have been misled.

                                  9          6.      As a result of Defendants’ deceptive and misleading practices, Plaintiff and the

                                 10   Class Members were induced to purchase hand-sanitizer which does not perform as advertised.

                                 11   Defendant has made millions of dollars in fraudulent sales to individuals who Defendant told

                                 12   were receiving a product which had been proven, with a high degree of certitude, to kill almost
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                                 13   every germ. Defendant’s customers did not receive the benefit of their bargain. The products

                                 14   do not kill many types of germs.

                                 15                                           THE PARTIES

                                 16          7.      Plaintiff Joseph Mier (“Plaintiff Mier”) is a California citizen residing in Orange

                                 17   County, California. On or about August 1, 2019, Plaintiff Mier purchased a bottle of CVS’

                                 18   Advanced Formula Hand Sanitizer, an alcohol-based hand-sanitizer, from a CVS store located

                                 19   at the intersection of Main Street and Warner Avenue, in Santa Ana, CA.

                                 20          8.      Defendant CVS is a Rhode Island corporation with its principal offices located in

                                 21   Woonsocket, Rhode Island.       CVS does substantial business, including selling its health

                                 22   products, in California, and in Orange County specifically.

                                 23          9.      Plaintiff is unaware of the true names, identities, and capacities of the defendants

                                 24   sued herein as DOES 1 to 100. Plaintiff will seek leave to amend this complaint to allege the

                                 25   true names and capacities of DOES 1 to 100 if and when ascertained. Plaintiff is informed and

                                 26   believes, and thereupon alleges, that each of the defendants sued herein as a DOE is legally

                                 27   responsible in some manner for the events and happenings alleged herein and that each of the

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                                  1   defendants sued herein as a DOE proximately caused injuries and damages to Plaintiff and

                                  2   Class Members as set forth below.

                                  3          10.     As used herein, “Defendants” shall refer to CVS and Does 1 to 100, collectively.

                                  4                                   JURISDICTION AND VENUE

                                  5          11.     This Court has subject matter jurisdiction over this action pursuant to Section

                                  6   410.10 of the California Code of Civil Procedure.

                                  7          12.     The Court has personal jurisdiction over Defendants because Plaintiff’s and

                                  8   Class Members’ claims arise out Defendants’ business activities conducted in the State of

                                  9   California.

                                 10          13.     Venue is appropriate in Orange County because, among other things: (a) Plaintiff

                                 11   purchased the products from Defendants’ stores in Orange County; and (b) many of the acts and

                                 12   omissions that give rise to the claims for relief alleged in this action took place in Orange
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                                 13   County.

                                 14                                    FACTUAL ALLEGATIONS

                                 15          14.     Plaintiff is an individual who purchased CVS brand alcohol-based hand-sanitizer

                                 16   from one of Defendants’ stores. When Plaintiff purchased the hand-sanitizer, the label on the

                                 17   bottle of hand-sanitizer stated prominently that the product would “kill[] 99.99% of germs.”

                                 18          15.     On the product label, there is an asterisk next to the above statements, which

                                 19   leads to the following statement written in a much smaller font, or a statement similar to the

                                 20   following statement, on the back label: “Effective at eliminating 99.99% of many common

                                 21   harmful germs and bacteria in as little as 15 seconds.” Plaintiff did not read this disclaimer.

                                 22   Further, a reasonable consumer who read this language would not understand it to take back the

                                 23   promise on the front of the bottle, to kill 99.99% of all germs.

                                 24          16.     Plaintiff read these statements on the product labels and relied on them when

                                 25   purchasing the products. Plaintiff believed that this statement meant that a scientific study

                                 26   proved that the product would kill 99.99% of all known germs. That is because the statement

                                 27   included an exact figure for the percentage of germs that would be killed—99.99%. The

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                                  1   statement did not read, “kills most germs,” it read “kills 99.99% of germs,” which indicates that

                                  2   some evidence supports the figure 99.99%.

                                  3           17.        The statement created a false impression. No scientific study indicates that

                                  4   alcohol-based hand-sanitizers kill 99.99% of germs. In fact, many scientific studies show that

                                  5   hand-sanitizers do not kill many prominent and harmful germs, and that they are less effective

                                  6   than washing one’s hands.

                                  7           18.        First of all, studies show that some types of bacteria are becoming alcohol-

                                  8   resistant due to the use of hand-sanitizers. For instance, the bacterium Enterococcus faecium

                                  9   has been found to have become ten times more alcohol tolerant in the years after 2010 than it

                                 10   was in the years before 2010.                https://www.forbes.com/sites/brucelee/2018/08/04/how-this-

                                 11   bacteria-may-becoming-more-resistant-to-hand-sanitizer/#138e8d1722dd.

                                 12           19.        Further, it is known that alcohol-based hand sanitizers do not kill many non-
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                                 13   enveloped viruses, such as norovirus.                    See https://www.medicalnewstoday.com/articles/

                                 14   232708#1. As noted above, norovirus accounts for over half of the food-borne illnesses in the

                                 15   country.

                                 16           20.        Third, it is known that alcohol-based hand sanitizers do not kill bacterial spores,

                                 17   which      are    a       leading    cause   of     illness.    (https://www.researchgate.net/publication/

                                 18   43353621_Effectiveness_of_Alcohol-Based_Hand_Rubs_for_Removal_of_Clostridium

                                 19   _difficile_Spores_from_Hands)

                                 20           21.        Fourth, it has been shown that alcohol-based hand sanitizers do not kill

                                 21   protozoan        cysts,     which     grow     to    become    invasive   parasites,   such   as   Giardia.

                                 22   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4510183/

                                 23           22.        In light of the fact that evidence shows that many types of germs are not killed

                                 24   by alcohol-based hand-sanitizers, it appears extremely doubtful that these sanitizers in fact kill

                                 25   99.99% of all germs. Certainly, no study shows that the sanitizers kill any given amount of

                                 26   germs such that an exact percentage of germs killed could be stated. Yet that is exactly what

                                 27   Defendants have done. Defendants made false statements.

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                                  1          23.      Plaintiff purchased the hand-sanitizer in reliance on these representations,

                                  2   believing that it had in fact been scientifically proven that the hand-sanitizer killed 99.99% of

                                  3   all germs. Plaintiff received a product that was not in fact proven to kill 99.99% of germs.

                                  4   Plaintiff did not get the product that was advertised.

                                  5                                 CLASS ACTION ALLEGATIONS

                                  6          24.     Plaintiff brings this action on his own behalf and pursuant to California Code of

                                  7   Civil Procedure § 382. Plaintiff intends to seek certification of a class defined as follows:

                                  8
                                                     All persons residing in the State of California who purchased CVS brand
                                  9                  hand-sanitizer during the period beginning four years from the date of the
                                                     filing of this Complaint to the date of class certification (the “Class”).
                                 10

                                 11          25.     Excluded from the Class are: (a) Defendants, including any entity in which any

                                 12   of the Defendants has a controlling interest, is a parent or a subsidiary of, or which is controlled

                                      by any of the Defendants; (b) the officers, directors, and legal representatives of Defendants;
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                                 13

                                 14   and (c) the judge and the court personnel in this case as well as any members of their immediate

                                 15   families. Plaintiff reserves the right to amend the definition of the Class if discovery, further

                                 16   investigation and/or rulings by the Court dictate that it should be modified.

                                 17          26.     Numerosity. The members of the Class are so numerous that the joinder of all

                                 18   Class Members is impractical. While the exact number of Class Members is unknown to

                                 19   Plaintiff at this time, given the amount of Defendants’ brand hand-sanitizer sold in California, it

                                 20   stands to reason that the number of Class Members is at least in the thousands. Class Members

                                 21   are readily identifiable from information and records in Defendants’ possession, custody, or

                                 22   control, such as account information and sales records.

                                 23          27.     Commonality and Predominance. There are questions of law and fact common to

                                 24   Class Members, which predominate over any questions affecting only individual Class

                                 25   Members. These common questions of law and fact include, without limitation:

                                 26          a.      Whether Defendants’ brand hand-sanitizers contains the statement, on the

                                 27                  product labels, that it kills 99.99% of germs;

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                                  1          b.      Whether Defendants’ product labeling created the impression among their

                                  2                  customers that their product would kill 99.99% of all germs.

                                  3          c.      Whether a reasonable person would have read the statement “kills 99.99% of

                                  4                  germs” and any accompanying language to mean that the hand-sanitizer had

                                  5                  been scientifically proven to kill at least that exact percentage of germs;

                                  6          d.      Whether the hand-sanitizer kills 99.99% of germs;

                                  7          e.      Whether it has been scientifically proven that the hand-sanitizer kills 99.99% of

                                  8                  germs;

                                  9          f.      Whether Defendants knew or should have known that it had not been

                                 10                  scientifically proven that the hand-sanitizer kills 99.99% of germs;

                                 11          g.      Whether Defendant knew or should have known that the hand-sanitizer does not

                                 12                  kill 99.99% of germs;
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                                 13          h.      The nature of the relief, including equitable relief, to which Plaintiff and Class

                                 14                  Members are entitled; and

                                 15          i.      Whether Plaintiff and Class Members are entitled to damages, civil penalties

                                 16                  and/or injunctive relief.

                                 17          28.     Typicality. Plaintiff’s claims are typical of those of other Class Members because

                                 18   Plaintiff, like the other Class Members, purchased CVS brand hand-sanitizer which included a

                                 19   statement that it would kill 99.99% of germs, but would not in fact kill that percentage of germs.

                                 20          29.     Adequacy of Representation. Plaintiff will fairly and adequately represent and

                                 21   protect the interests of the Class Members.         Plaintiff have retained competent counsel

                                 22   experienced in litigation of class actions, including consumer class actions, and Plaintiff intends

                                 23   to prosecute this action vigorously. Plaintiff and Class Members have a unified and non-

                                 24   conflicting interest in pursuing the same claims and obtaining the same relief. Therefore, all

                                 25   Class Members will be fairly and adequately represented by Plaintiff and his counsel.

                                 26          30.     Superiority of Class Action. A class action is superior to other available methods

                                 27   for the fair and efficient adjudication of the claims alleged in this action. The adjudication of

                                 28   this controversy through a class action will avoid the possibility of inconsistent and potentially
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                                  1   conflicting adjudications of the asserted claims. There will be no difficulty in the management

                                  2   of this action as a class action, and the disposition of the claims of the Class Members in a

                                  3   single action will provide substantial benefits to all parties and to the Court. Damages for any

                                  4   individual Class Member are likely insufficient to justify the cost of individual litigation so that,

                                  5   in the absence of class treatment, Defendants’ violations of law inflicting substantial damages in

                                  6   the aggregate would go un-remedied.

                                  7          31.     Class certification is also appropriate because Defendants have acted or refused

                                  8   to act on grounds generally applicable to the Class Members, such that final injunctive relief or

                                  9   corresponding declaratory relief is appropriate as to the Class as a whole.

                                 10                                     FIRST CAUSE OF ACTION

                                 11                                     (Intentional Misrepresentation)
                                 12          32.     Plaintiff repeats and incorporates herein by reference each and every allegation
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                                 13   contained in paragraphs 1 through 31, inclusive, of this Complaint as if set forth fully herein.
                                 14          33.     Defendants represented to Plaintiff and the Class Members that CVS brand hand-
                                 15   sanitizer would kill 99.99% of germs. Specifically, Defendants placed an advertisement, or
                                 16   caused to be placed an advertisement, on its product label, which stated, “kills 99.99% of
                                 17   germs.”
                                 18          34.     This statement, inclusive of any disclaimer, would lead a reasonable person to
                                 19   conclude that the hand-sanitizer had been proven through a scientific study to kill 99.99% of
                                 20   germs. That is because the statement included an exact figure for the percentage which went to
                                 21   the hundredth decimal point. Such an exact number would lead a reasonable person to conclude
                                 22   that a specific number had been calculated, and not that it had been picked out of clean air.
                                 23          35.     These representations were false. It has not been proven in any scientific study
                                 24   that the hand-sanitizer kills 99.99% of germs. In fact, it has been scientifically proven that
                                 25   alcohol-based hand-sanitizer does not kill many types of germs.
                                 26          36.     Defendants knew that the representations at issue were false when they made
                                 27   them, and/or made the representations recklessly and without regard for their truth. Defendants
                                 28   understood, or should have understood, that no scientific study proved that any specific
                                                                                 7
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                                  1   percentage of all germs would be killed by the hand-sanitizer. Defendants also understood, or

                                  2   should have understood, that alcohol-based hand-sanitizer does not kill many types of germs.

                                  3          37.     Defendants intended that Plaintiff and the Class Members rely on the

                                  4   representations. The advertisement was placed on product packaging and on the product itself

                                  5   for the sole purpose of inducing customers to purchase the product. Defendants understood, or

                                  6   should have understood, that a reasonable person would read the “99.99%” promise to indicate

                                  7   that a scientific study supported this number.

                                  8          38.     Plaintiff and the Class Members reasonably relied on the representations.

                                  9   Plaintiff and the Class Members believed that a scientific study proved that the hand-sanitizer

                                 10   would kill 99.99% of germs. Based on that belief, and because of it, desiring to be protected

                                 11   from 99.99% of germs, Plaintiff and the Class Members purchased the product.

                                 12          39.     As a result, Plaintiff and the Class Members were harmed when they purchased
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                                 13   hand-sanitizer that has not actually been proven to kill 99.99% of germs. Plaintiff and the Class

                                 14   members were not protected from many types of germs. Plaintiff and the Class members also

                                 15   paid for a product that they would not otherwise have purchased.

                                 16          40.     Plaintiff and the Class Members’ reliance on Defendants’ representations was a

                                 17   substantial factor in causing this harm. Had Plaintiff and the Class Members known that it had

                                 18   not been proven that the hand-sanitizer killed 99.99% of germs, Plaintiff and the Class Members

                                 19   would not have purchased the product.

                                 20          41.      As a direct and proximate result of Defendants’ intentional misrepresentation,

                                 21   Plaintiff and Class Members have suffered injury and are entitled to damages in an amount to be

                                 22   proven at trial but in excess of the minimum jurisdictional requirement of this Court.

                                 23                                   SECOND CAUSE OF ACTION
                                 24                                     (Negligent Misrepresentation)
                                 25          42.     Plaintiff repeats and incorporates herein by reference each and every allegation
                                 26   contained in paragraphs 1 through 41, inclusive, of this Complaint as if set forth fully herein.
                                 27          43.     Defendants represented to Plaintiff and the Class Members that their brand hand-
                                 28   sanitizer would kill 99.99% of germs. Specifically, Defendants placed an advertisement, or
                                                                                 8
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                                  1   caused to be placed an advertisement, on its product label, which stated, “kills 99.99% of

                                  2   germs.”

                                  3          44.     This statement, inclusive of any disclaimer, would lead a reasonable person to

                                  4   conclude that the hand-sanitizer had been proven through a scientific study to kill 99.99% of

                                  5   germs. That is because the statement included an exact figure for the percentage which went to

                                  6   the hundredth decimal point. Such an exact number would lead a reasonable person to conclude

                                  7   that a specific number had been calculated, and not that it had been picked out of clean air.

                                  8          45.     These representations were false. It has not been proven in any scientific study

                                  9   that the hand-sanitizer kills 99.99% of germs. In fact, it has been scientifically proven that

                                 10   alcohol-based hand-sanitizer does not kill many types of germs.

                                 11          46.     Defendants had no reasonable grounds for believing that the representations were

                                 12   true when they made them. No study proves that alcohol-based hand-sanitizer kills 99.99% of
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                                 13   all germs. In fact, many studies prove that hand-sanitizer does not kill many types of germs.

                                 14          47.     Defendants intended that Plaintiff and the Class Members rely on the

                                 15   representations. The advertisement was placed on product packaging and on the product itself

                                 16   for the sole purpose of inducing customers to purchase the product. Defendants understood, or

                                 17   should have understood, that a reasonable person would read the “99.99%” promise to indicate

                                 18   that a scientific study supported this number.

                                 19          48.     Plaintiff and the Class Members reasonably relied on the representations.

                                 20   Plaintiff and the Class Members believed that a scientific study proved that the hand-sanitizer

                                 21   would kill 99.99% of germs. Based on that belief, and because of it, desiring to be protected

                                 22   from 99.99% of germs, Plaintiff and the Class Members purchased the product.

                                 23          49.     As a result, Plaintiff and the Class Members were harmed when they purchased

                                 24   hand-sanitizer that has not actually been proven to kill 99.99% of germs. Plaintiff and the Class

                                 25   members were not protected from many types of germs. Plaintiff and the Class members also

                                 26   paid for a product that they would not otherwise have purchased.

                                 27          50.     Plaintiff and the Class Members’ reliance on Defendants’ representations was a

                                 28   substantial factor in causing this harm. Had Plaintiff and the Class Members known that it had
                                                                                 9
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                                  1   not been proven that the hand-sanitizer killed 99.99% of germs, Plaintiff and the Class Members

                                  2   would not have purchased the product.

                                  3          51.      As a direct and proximate result of Defendants’ intentional misrepresentation,

                                  4   Plaintiff and Class Members have suffered injury and are entitled to damages in an amount to be

                                  5   proven at trial but in excess of the minimum jurisdictional requirement of this Court.

                                  6                                    THIRD CAUSE OF ACTION
                                  7       (Violation of California False Advertising Law, Cal. Bus. & Prof. Code § 17500 et. seq.)
                                  8          52.     Plaintiff repeats and incorporates herein by reference each and every allegation
                                  9   contained in paragraphs 1 through 51, inclusive, of this Complaint as if set forth fully herein.
                                 10          53.     Defendants’ statements on the product labels that the product would kill 99.99%
                                 11   of germs were false. No scientific study proves that alcohol-based hand-sanitizer kills 99.99%
                                 12   of germs and, in fact, studies prove that alcohol-based hand-sanitizer does not kill many types
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                                 13   of germs. These advertisements were made, in Defendants’ stores, to California residents.
                                 14          54.     Alternatively, the statements that the product would kill 99.99% of germs,
                                 15   combined with the disclaimer on the back of the packaging, created the false impression that the
                                 16   product would in fact kill 99.99% or more than 99.99% of all germs, because the statement, on
                                 17   the front of the bottle, gave the impression that it had been scientifically proven to kill 99.99%
                                 18   of all germs due to the adoption of an exact percentage, and because the disclaimer, on the back
                                 19   of the product and in a smaller font, did not detract from that impression in that it merely
                                 20   provided a corollary statement which was not inconsistent with the overall claim that the
                                 21   product killed 99.99% or more than 99.99% of all germs.
                                 22          55.     To the extent that it exists at all, the statement on the back of the bottle, in
                                 23   smaller font, that the product is “[e]ffective at eliminating 99.99% of many common harmful
                                 24   germs and bacteria in as little as 15 seconds” is consistent with, and does not detract from, the
                                 25   promise on the front of the bottle that the product kills 99.99% of germs, or more than 99.99%
                                 26   of germs. A reasonable consumer would believe, after reading both statements, that the product
                                 27   will in fact kill 99.99% of all germs. Therefore, the advertising is both actually misleading and
                                 28   has a capacity, likelihood or tendency to deceive or confuse the public.
                                                                                 10
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                                  1           56.    Plaintiff and the Class Members relied on the advertisements by purchasing

                                  2   hand-sanitizer that they believed had been proven to kill 99.99% of germs. The representation

                                  3   that the hand-sanitizer would kill 99.99% of germs contributed materially to Plaintiff’s and the

                                  4   Class Members’ decisions to purchase the hand-sanitizer.

                                  5           57.    As a result, Plaintiff and the Class Members were damaged. Plaintiff and the

                                  6   Class Members did not receive the benefits of their bargains and used hand-sanitizer which had

                                  7   not been proven to kill 99.99% of germs and, in fact, did not kill many types of germs. Plaintiff

                                  8   and the Class Members paid for a product that they would not have purchased had they known

                                  9   the truth.

                                 10           58.    Plaintiff have suffered monetary injury in fact as a direct and proximate result of

                                 11   the violations of the False Advertising Law committed by Defendants as alleged herein in an

                                 12   amount to be proven at trial but in excess of the minimum jurisdictional amount of this Court.
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                                 13                                   FOURTH CAUSE OF ACTION

                                 14    (Violation of the Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200, et seq.)
                                 15           59.    Plaintiff repeats and incorporates herein by reference each and every allegation
                                 16   contained in paragraph 1 through 58, inclusive, of this Complaint as if set forth fully herein.
                                 17           60.    By their actions and conduct as alleged herein, Defendants have committed one
                                 18   or more acts of unfair competition within the meaning of California Business and Professions
                                 19   Code § 17200 (“UCL”) that constitute unfair, unlawful and/or fraudulent business practices as
                                 20   those terms are defined under California law.
                                 21           61.    Defendants’ business practices are unfair under the UCL because Defendants
                                 22   have acted in a manner that is immoral, unethical, oppressive, unscrupulous and/or substantially
                                 23   injurious to Plaintiff and the Class Members.        These business practices, described above,
                                 24   include creating false advertisements on product packaging and directly on the product itself.
                                 25   The false advertisements are substantially injurious because they induce consumers to make
                                 26   purchases that they would not otherwise make, in expectation of receiving benefits that they do
                                 27   not receive. Further, the impact of the practice against Plaintiff and the Class Members far
                                 28   outweighs any possible justification or motive on the part of Defendant. The impact on Plaintiff
                                                                                 11
                                                                 COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   and the Class Members has been described. Defendants can have no possible justification for

                                  2   including a false inducement to purchase its product. Plaintiff and the Class Members could not

                                  3   reasonably have avoided this injury because they relied on Defendants’ advertisement as to the

                                  4   quality and characteristics of the products being sold, as all consumers who rely on the verity of

                                  5   product advertising must do.

                                  6            62.   Defendants’ false advertisement is violative of public policy as expressed in the

                                  7   False Advertising Law. Each of these statutes strictly forbids false advertisement such as

                                  8   Defendants have disseminated and/or caused to be disseminated, and represent expressions of

                                  9   public policy against this practice.

                                 10            63.   Defendants’ business practices are also unfair because they significantly threaten

                                 11   or harm competition. Competition is fostered by an environment in which information can be

                                 12   relied upon, so that consumers can make wise decisions, and so that products which accurately
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                                 13   reflect the consumers’ wishes can flourish.

                                 14            64.   As shown above, Defendants’ business practices are also unlawful because they

                                 15   violate the False Advertising Law.

                                 16            65.   Defendants’ business practices are also fraudulent under the UCL because they

                                 17   constitute representations to the public which are likely to deceive the public.               The

                                 18   representations indicate that it has been proven that the product will kill 99.99% of germs, when

                                 19   in fact it has not been so proven, and, instead, it has been proven that the product will not kill

                                 20   many types of germs. The public, receiving these representations, is likely to believe that it has

                                 21   been proven that the product will kill 99.99% of germs, and is so deceived.

                                 22            66.   Defendants’ representations are likely to deceive the public because they are

                                 23   untrue and because they create the impression that the product has been proven to kill 99.99%

                                 24   of germs. A reasonable consumer would be likely to believe that, if Defendants state their

                                 25   product kills a very exact percentage of germs, that it has in fact been proven to kill all of those

                                 26   germs.

                                 27            67.   Plaintiff and the Class Members relied on these representations when they

                                 28   purchased the CVS hand-sanitizer, which they would not have otherwise purchased.
                                                                                 12
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                                  1           68.     Plaintiff has suffered monetary injury in fact as a direct and proximate result of

                                  2   the acts of unfair competition committed by Defendants as alleged herein in an amount to be

                                  3   proven at trial but in excess of the minimum jurisdictional amount of this Court.

                                  4                                        PRAYER FOR RELIEF

                                  5           WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for relief as
                                  6   follows:
                                  7       (1) For compensatory damages in an amount to be proven at trial;
                                  8       (2) For restitutionary damages in an amount to be proven at trial;
                                  9       (3) For affirmative injunctive relief mandating that Defendants remove the false
                                 10           advertisements from their product and product packaging;
                                 11       (4) For costs of suit and litigation expenses;
                                 12       (5) For such other and further relief as this Court may deem just and proper.
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                                 13                                      DEMAND FOR JURY TRIAL
                                 14           Plaintiff, on behalf of himself and all others similarly situated, hereby demands a jury
                                 15   trial for all claims so triable.
                                 16

                                 17   Dated: May 21, 2020                                     WILSHIRE LAW FIRM
                                 18
                                                                                           By ___________________
                                 19                                                          Thiago M. Coelho
                                 20                                                          Attorneys for Plaintiff and the
                                                                                             Proposed Class
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                                                                   COMPLAINT AND DEMAND FOR JURY TRIAL
